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                                                                                4306 Yoakum Blvd
PRATT & FLACK         LLP                                                                Suite 500
                                                                             Houston, Texas 77006
                                                                                   T 713-705-3087
                                                                                   F 888-819-2258


                                                                                      Paul D. Flack
                                                                             pflack@prattflack.com

                                         July 31, 2023

Ms. Andrea James andrea.james@irs.gov
Internal Revenue Agent
Department of the Treasury
Internal Revenue Service
1401 Hudson Lane, Suite 134
Monroe, LA 71201

              Re:     Administrative Summons to JP Morgan Chase Bank Seeking
                      Records of ABTC Corp. and Marcus Andrade

Dear Ms. James:

        Our firm has been engaged to represent Marcus Andrade, and ABTC Corp. regarding an
administrative summons you apparently sent to JP Morgan Chase Bank, N.A. (“Chase”). A copy
of the administrative summons is attached. We just recently received this copy of the summons
from Chase.

       We do not believe that Mr. Andrade or ABTC Corp. ever received any notice of the
administrative summons. If you have any record of any such notice, please provide it to us.

        We are also concerned that the Internal Revenue Service may have sent similar
administrative summonses to others seeking documents or information regarding Mr. Andrade
(including any entities with which he is affiliated) or ABTC Corp. If any such other summonses
have been issued by the IRS, please provide us copies of those summonses, as well. If the IRS
has not issued any other administrative summonses regarding Mr. Andrade or ABTC Corp.,
please confirm that to us in writing.

       We ask that you immediately notify Chase and any other recipients of any such
administrative summonses that they should not produce any documents until we have had the
opportunity to review any such summonses and any notice to us of any such summonses. If any
records have already been produced, we ask that those records either be returned to the party
who produced them or that they be quarantined and not reviewed by or shared with anyone until
we are able to resolve these matters.

       If you have any questions, please let us know.
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Mr. Andrea James
July 31, 2023
Page 2


      Please let us hear from you on these issues by August 3, 2023.

                                                          Sincerely,


                                                          Paul D. Flack
Enclosure
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                                       DEPARTMENT OF THE TREASURY
                                          INTERNAL REVENUE S ERV I C E
                                            WASH I N G TON , O .C. 20224



 JPMorgan Chase Bank, N.A.                                       1401 Hudson Ln, Ste 134
 Attention: RCO Centralized Mail - Mail Code LA4-7300            Monroe, LA 71201
 700 Kansas Ln                                                   Telephone Number: 318-410-7567
 Monroe, LA 71203-4774                                           Fax Number: 855-468-8523
                                                                 Person to Contact Andrea James
                                                                 Employee ID# 1001022422



 Date: April 25, 2023


 Dear Madam or Sir,

 Enclosed is an administrative summons (FinCEN Form 113) relating to an official matter regarding:

     •   ABTC Corp
     •   Marcus Andrade



 All records reflected on Attachment I of the summons are legally summoned. If additional records are
 needed, you will be notified later. Please respond to the summons by mail. Your personal appearance
 is not necessary.

 Expenses paid for complying with a BSA summons are limited. Persons summoned to appear shall be
 paid the same fees and mileage for travel in the United States that are paid witnesses in the courts of
 the United States. The government is not liable for any expenses incurred regarding the production of
 documents. The instructions to Part B of the BSA summons make clear the limitations.

 Thank you for your cooperation. If you should have any questions, please call me at the above number


                                                        Sincerely,



                                                        Andrea James
                                                        Internal Revenue Agent




 Enclosed:       FinCEN Form 113
                 Attachment I
                 Attachment II




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                                                      Financial Crimes Enforcement Network
                                                               Bank Secrecy Act
         From the:                                                 Summons
          0 Financial Crimes Enforcement Network
          IZI The Internal Revenue Service
          D U. S. Customs and Border Protection
         1. TO: JPMorgan Chase Bank, N.A.                                                                      2. Date (MM/DD/YYYY)
         Address
                   RCO Centralized Mail - Mail Code: LA4-7300                                                                    05/19/2023
                   700 Kansas Lane, Monroe, LA 71203-4774

        3. By the service of this summons upon you, YOU ARE HEREBY SUMMONED AND REQUIRED TO:

              0    APPEAR AND GIVE TESTIMONY before the person named, and at the place, date, and time
                   indicated, below; and

              ~    PRODUCE THE BOOKS, PAPERS, RECORDS, AND OTHER DATA listed below to the person
                   named, and at the place, and date indicated, below.
          Your testimony and production of the books, papers, records, at the place, date, and time indicated, and other data are
        REQUIRED in connection with an investigation for the purpose of civil enforcement of the Currency and Foreign Trans-
        actions Reporting Act, as amended (31 U.S.C. 5311-5332); section 21 of the Federal Deposit Insurance Act (12 U.S.C.
        1829b), title 1 of Public Law 91-508 (12 U.S.C. 1951, et seq.), or any regulation under any of the foregoing provisions.
         4. Name, Title, Department or Agency, Address, and Telephone                             5. Place, Date, and Time for Appearence and
            Number of Person Taking Testimony and Receiving Records                                  Testimony and Production of Records
         Andrea James, Internal Revenue Agent                                                     Internal Revenue Service
         Internal Revenue Service - Attn: Guadalupe Garcia Jr                                     1101 E Hackberry Ave, Suite 600
         1101 E Hackberry Ave, Suite 600, McAllen, TX 78501                                       McAllen, TX 78501
         tel# 318-410-7567                                                                        On or before _6/19/2023_ __

         6. Books, Papers, Records, and Other Data Required To Be Produced
         1. Pursuant to 31 CFR 1010.911, you are hereby directed to produce copies of any and all documents as defined in
         Attachment II. This production is presently modified and limited to the books, papers, records and other data as listed
         in Attachment I. Compliance with this summons will be satisfied by mailing photocopies of the requested information to
         the address above by the date specified in the summons. Documents may also be provided on electronic media in pdf
         format unless specified otherwise. You r personal appearance is not necessary.




        Attestation: I hereby certify that I have examined and
        is a true and correct copy of the orignal. Signature
                                                                          ~pyof
                                                                             ~ .
                                                                                                       the summons with the original and that it
                                                                                                       ---      Date         05/19/2023
                                                                                                                                       0\'/ 0{)/'('('('()
    This summons shall remain in effect until you are granted leave lo depart by tho Secretary of the Treasury or an authorized delegate ol the Secretary.
    Contumacy or refusal to obey this summons wlll result In proceedings In a U.S. District Court to compel your compliance wilh the summons. This
    summons is Issued undcrauthorityof31 U.S.C. 6318 and 31 C.F.R. 1010.911-1010.917.
        7. Name, lille, Department or Agency, and Telephone Number of Person Issuing TI1ls Summons      0. Signaturo of Person Issuing This Summons
        Anet Magadamyan, BSA West Territory Manager,                                                     Anet                      Olgita0y signed by Anet
                                                                                                                                   Magadamyan
        Department of the Treasury, Internal Revenue Service
        SBSE Compliance, BSA West Territory, let # 213-372-4347
                                                                                                          Magadamyan ~~2023-04.27 14:39".32
    FinCEN Fonn 113                                Part A To be given to person summoned                                                                    Page 3



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                              Provisions ofntle 31 United States Code (The Regulations
                                  Relating to this Summons are at 31 CFR Chapter X, )
Section 5318. Compliance, exemptions, and summons                      (c) Administrative aspects of summons.
authority
                                                                       (1) Production at designated site. A summons issued
(a) General powers of Secretary. The Secretary of the                  pursuant to this section may require lhat books, papers,
Treasury may (except under section 5315 of this title and              records, or other data stored or maintained at any place be
regulations prescribed under section 5315)                             produced at any designated location In any State or in any
(1) except as provided in subsection (b)(2), delegate duties           territory or other place subject to the Jurisdiction of the United
and powers under this subchapter to an appropriate                     States not more that 500 miles distant from any place where
supervising agency; and the United States Postal Service;              the financial institution or nonfinanclal trade or business
(2) require a class of domestic financial institutions or non-         operates or conducts business in the United States.
financial trades or businesses to maintain appropriate                 (2) Fees and travel expenses. Persons summoned under
procedures l o ensure compliance with this subchapter and              this section shall be paid the same fees and mileage for
regulations prescribed under this subchapter or to guard               travel In the United Stales that are paid witnesses in the
 against money laundering;                                             courts of the United States.
 (3) examine any books, papers, records, or other data of              (3) No liability for expenses. The United States shall not be
 domestic financial institutions or nonfinancial trades or             liable for any expense, other than an expense described in
 businesses relevant to the recordkeeping or reporting                 paragraph (2), incurred in connection with the production of
 requirements of this subchapter;                                      books, papers, records, or other data under this section
 (4) summon a financial institution or nonfinanclal trade or           (d) Service of summons. Service of a summons issued under
 business, an officer or employee of a financial institution or        this section may be by registered mail or in such other
 non-financial trade or business (including a former officer or        manner calculated to give actual notice as the Secretary
 employee), or any person having possession, custody, or               may prescribe by regulation.
 care of th e reports and records required under this                  (e) Contumacy or refusal.
 subchapter, to appear before the Secretary of the Treasury            (1) Referral to Attorney General. In case of contumacy by a
 or his delegate at a time and place named in the summons              person issued a summons under paragraph (3) or (4) of
 and to p~oduce such books, papers, records, or other data,            subsection (a) or a refusal by such person to obey such
 and to give testimony, under oath, as may be relevant or              summons, the Secretary of the Treasury shall refer the matter
 material to an investigation described in subsection (b);             to the Attorney General.
 (5) exemptfrom the requirements of this subchapter any class          (2) Jurisdiction of court-The Attorney General may invoke
 of transactions within any State if the Secretary determines          the aid of any court of the United States within the jurisdiction
  that (A) under the laws of such State, that class of transactions    ofwhich-
  is subject to requirements substantially similar to those                      (A) the investigation which gave rise to the
  imposed under this subchapter; and (B) there is adequate                      summons is being or has been carried on;
  provision for the enforcement of such requirements; and                       (B) the person summoned is an inhabitant; or
  (6) prescribe an appropriate exemption from a requirement                     (C) the person summoned carries on business
  under this subchapter and regulations prescribed under this                   or may be found, to compel compliance with the
  subchapter. The Secretary may revoke an exemption under                       summons.
  this paragraph or paragraph (5) by actually or constructively
  notifying the parties affected. A revocation is effective during     (3) Court order -The court may issue an order requiring the
  judicial review.                                                     person summoned to appear before the Secretary or his
                                                                       delegate to produce books, papers, records, and other data,
 (b) Limitations on summons power.                                     to give testimony as may be necessary to explain how such
                                                                       material was complied and maintained, and to pay the costs
 (1) Scope of Power. The Secretary of the Treasury may lake            of the proceeding.
 any action described in paragraph (3) or (4) of subsection            (4) Failure lo comply with order.-Any failure lo obey the
 (a) only in connection with investigations for the purpose of          order of the court may be punished by the court as a
 civil enforcement of violations of this subchapter, section 21         contempt thereof.
 of the Federal Deposit Insurance Act, section 411 of the              (5) Service of process. All process in any case under this
 National Housing Act, or chapter 2 of Public Law 91-508               subsection may be served in any judicial district in which
 (12 USC. 1951 et seq.) or any regulation under any such               such person may be found.
 provision.
 (2) Authority to Issue . A summons may be issued under                (f) Written and signed statement required. No person shall
 subsection (a)(4) only by, or with the approval of, the               qualify for an exemption under section (a)(6)(sic) unless the
 Secretary of the Treasury or a supervisory level delegate of          relevant financial institution prepares a nd maintains a
 the Secretray of the Treasury.                                        statement which,
                                                                       (1) describes in detail the reasons why such person is
                                                                       qualified for such exemption; and
                                                                       (2) contains the signature of such person.
                                                     Attach to Part A of Summons




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                                                 CERTIFICATE OF COMPLIANCE
                              WITH THE RIGHT TO FINANCIAL PRIVACY ACT OF 1978


                   TO: JPMorgan Chase Bank, N.A. - RCO Centralized Mail - Code LA4-7300
                        (Name of Financial lnslllution)

                        700 Kansas Lane
                        Monroe, LA 71203-4774
                        ( Address of Financial Institution)


               FROM: Internal Revenue Service
                        (Name of Government Agency)

                    I hereby certify that lhe applicable provisions of the Right to Financial Privacy Act of 1978,
                    12 U.S.C. § §340 1-3422. have been complied with as to the
                     Summons regarding ABTC Corp/Marcus Andrade
                     (Summons, Subpoena, or Formal Written Request )
     presented on _ _ _ _ __ _ _ _ _ __ _                          for the following financial records of.
                            Dale (MM.'00/VYYY)


      (Enter infonnalion from BSA Summons, llem6)
  1. Pursuant to 31 CFR 1010.911, you are hereby directed to produce copies of any and all documents as defined in
 Attachment II. This production is presently modified and limited to the books, papers, records and other data as liste d
 in Attachroent I. Compliance with this summons will be satisfied by mailing photocopies of the requested information to
 the address above by the date specified In the summons. Documents may also be provided on electronic media in pdf
 format unless specified otherwise. Your personal appearance is not necessary.




                                                                                (Signature)
                                                                             Guadalupe Garcia Jr
      1101 E Hackberry Ave, Suite 600                                        (Name)
      McAllen, TX 78501
                                                                             Internal Revenue Agent
      (Street Address, City, Slate, ZIP Code)                                (Title of Official)

                (956) 632-3312                                               Internal Revenue Service
     (Area Code and Telephone Number)                                         (Government Agency)
Pursuant to the Right to Financial Privacy Act of 1978, good faith reliance upon this certificate relieves your Institution and Its employees
and agents of any possible liability to the customer In connection with the disclosure of these financial records.
                                                       InsIruction lo Server of Summons:
                                                    Part D If nollce Isrequired, this part Is lo
                                                           begiven to financial lnslilullon m.19.
                                                            receiving tho financial records.




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                                                ATTACHMENT I


          TO:     JPMORGAN CHASE BANK, N.A.
                  ATTN: RCO CENTRALIZED MAIL- MAIL CODE: LA4-7300
                  700 KANSAS LANE
                  MONROE, LA 71203-4774

          RE:     ABTC CORP/MARCUS ANDRADE
                  7324 SOUTHWEST Fm, STE 222
                  HOUSTON, TX 77074

          ITEMS REQUESTED:

          ALL OPEN AND CLOSED ACCOUNTS

          For the period May 1, 2020 through October 31 , 2020

          All records pertaining to the following individuals and business entities whether held
          jointly or severally or as trustee or fiduciary as well as custodian, executor or guardian as
          well as any other entity in which these individuals or entities may have a financial
          interest:

              ►   ABTC Corp
              ►   Marcus Andrade



          To include all accounts in which these individuals had signatory authority and/or the right
          of withdrawal.


          These records should include but are not limited to:

          SAVINGS ACCOUNT RECORDS: Including signature cards, ledger cards or records
          reflecting dates and amounts of deposits, withdrawals, interest, debit and credit memos,
          deposit slips, checks deposited, withdrawal slips, and checks issued for withdrawals.

          CHECKING ACCOUNT RECORDS: Including signature cards, bank statements,
          deposit slips, checks deposited, checks drawn on the account, records pertaining to all
          debit and credit memos.

          LOAN RECORDS: Including applications, financial statements, loan collateral, credit
          and background investigations, loan agreements, notes or mortgages, settlement
          sheets, contracts, checks issued for loans, repayment records, including records
          revealing the date, amount and method of repayment (cash or check), checks used to
          repay loans and a record disclosing the total amount of discount or interest paid
          annually, records of any liens, loan correspondence files, and internal bank memoranda.

          SAFE DEPOSIT BOX RECORDS: Including contracts, access records, and records of
          rental fees paid disclosing the date, amount, and method of payment (cash or check).




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      CERTIFICATES OF DEPOSIT AND MONEY MARKET CERTIFICATES: Including
      applications, actual instruments(s), records of purchases and redemption's, checks
      issued on redemption, checks used to purchase certificate, any correspondence
      regarding the dates of payment or date interest is earned, checks issued for interest
      payments.

      U.S. TREASU RY NOTES AND BILLS: All records of the purchase of U.S. Treasury Bills
      and Notes and/or subsequent sale of such bills or notes, including interest paid, checks
      used for the purchase or sale of the notes and bills, checks issued for interest payments,
      records of interest paid or accumulated revealing the dates and amount of interest paid
      or accumulated.

      CREDIT CARD RECORDS: Including customer's application, signature card, credit or
      background investigations conducted, correspondence, monthly billing statements,
      individual charge invoices, repayment records disclosing the dates, amounts and
      method (cash or check) of repayment, checks used to make repayments (front and
      back).

      PURCHASES OF BANK CHECKS: Purchases of bank checks, cashier, teller, travelers'
      check records, or money order records including the check register, file copies of the
      checks or money orders, records revealing the date and source of payment for said
      checks or money orders.

      OTHER RECORDS: Records of certified checks, wire transfers, or collections, letters of
      credit, bonds and securities purchased through your bank, savings bond transactions
      and investment accounts. Such records that disclose the date and amount of the
      transaction, method (cash or check) and source of payment, instruments and statements
      of transactions.

      All correspondence with the above persons/entities and/or with third parties regarding
      the above persons/entities. All memoranda, notes, files, or records relating to meetings
      or conversations concerning the above persons/entities.

      RECORD FORMAT: In addition to hard copies, records are requested in the form of
      magnetic media. Data may be provided on a CD, DVR, or flash drive in a (1 ) Microsoft
      Excel file format or (2) Access Database. Alternatively, other acceptable formats would
      be "text fixed length flat file", "delimited file", or "Text print file". If a delimited file is used
      please use the "I" (pipe) or •~• (tilde) for the delimiting character instead of ",• (comma).
      Also if the source of the data is a mainframe, please use a text qualifier of double quotes
      (") for all text fields. Otherwise, no text qualifier is needed. A record layout for the data is
      also requested.




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                                         ATTACHMENT II


        TO:   JPMORGAN CHASE BANK, N.A.
              ATTN: RCO CENTRALIZED M AIL- M AIL C ODE: LA4-7300
              700 KANSAS LANE
              MONROE, LA 71203-4774



        RE:   ABTC CORP/MARCUS ANDRADE
              7324 S OUTHWEST FWY, STE 222
              H OUSTON, TX 77074




                                          DEFINITIONS

        The term "document" shall mean the original and any nonidentical copy of
        written, typed, printed, recorded, transcribed, punched, taped, filmed, or graphic
        matter, or sound production, however produced or reproduced, of any kind, in the
        possession, custody, or control of the summoned parties, regardless of where
        located, and includes, but is not limited to contracts, agreement, orders, diaries,
        correspondence, communications, memoranda, messages, reports, studies,
        drawings, papers, agenda, bulletins, notices, announcements, vouchers,
        brochures, schedules, computer printouts, statements, price lists, journals,
        ledgers, films, film clips, telegrams, teletypes, and magnetic or recorded tapes. In
        all cases where any original is not in the possession, custody or con trol of the
        summons party/parties, the term "documents" shall include any copy of the
        original and any nonidentical copy thereof.

                         IDENTIFYING AND GROUPING DOCUMENTS

        In order to facilitate the handling of documents submitted pursuant to this
        summons, to preserve their identity, and to ensure their accurate and expeditions
        return, the following procedures should be observed for all such documents:

        A. The documents should be numbered consecutively.

        B. The documents should be grouped according to the individual paragraph of
           this summons to which they are responsive, and, within each such group, the
           documents should be arranged, to the extent possible in chronological order.
           Multi-paged documents should remain intact.




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